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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF IOWA
                                 CENTRAL DIVISION

JOAN BURKE, individually and on behalf      Case No. 4:21-cv-00335
of all others similarly situated,           Judge Rebecca Goodgame Ebinger
                                            Magistrate Judge Stephen B. Jackson, Jr.
                               Plaintiff,
       v.                                   MEMORANDUM IN SUPPORT OF
                                            DEFENDANT MEREDITH
MEREDITH CORPORATION,                       CORPORATION’S MOTION TO
                                            DISMISS THE CONSOLIDATED CLASS
                               Defendant.   ACTION COMPLAINT

                                            Oral Argument Requested
ADELE HETZEL, individually and on
behalf of all others similarly situated,    Case No. 4:21-cv-00341

                               Plaintiff,
       v.

MEREDITH CORPORATION,

                               Defendant.


MARIBEL RAMIREZ, individually
and on behalf of all others similarly       Case No. 4:21-cv-00344
situated,
                               Plaintiff,
        v.

MEREDITH CORPORATION,

                               Defendant.


BELINDA POWERS, individually and on
behalf of all others similarly situated,    Case No. 4:21-cv-00350

                               Plaintiff,
       v.

MEREDITH CORPORATION,

                               Defendant.
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SHARON MCKINNEY, individually
and on behalf of all others similarly       Case No. 4:21-cv-00360
situated,
                               Plaintiff,
        v.

MEREDITH CORPORATION,

                               Defendant.


CANDYCE MARTO-MAEDEL,
individually and on behalf of all others    Case No. 4:21-cv-00366
similarly situated,
                               Plaintiff,
        v.

MEREDITH CORPORATION,

                               Defendant.


NORMA GOLDBERGER, individually
and on behalf of all others similarly       Case No. 4:21-cv-00367
situated,
                               Plaintiff,
        v.

MEREDITH CORPORATION,

                               Defendant.


JULIE BEACH, individually and on behalf
of all others similarly situated,           Case No. 4:21-cv-00376

                               Plaintiff,
       v.

MEREDITH CORPORATION,

                               Defendant.
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       Pursuant to Rules 12(b)(1) and 12(b)(6) of the Federal Rules of Civil Procedure,

Defendant Meredith Corporation (“Meredith”) respectfully submits this memorandum of law in

support of its motion to dismiss with prejudice Plaintiffs’ amended consolidated complaint (the

“Complaint” or “Compl.,” ECF No. 19) for lack of standing and failure to state a claim.1

                                         INTRODUCTION

       Eight plaintiffs seek to break new ground by suing Meredith for millions of dollars under

five similar right-of-publicity statutes (“ROP Laws”) for engaging in the age-old direct mail

industry practice of privately selling subscriber lists to contractual counterparties. There are at

least two fatal flaws in Plaintiffs’ novel theory. First, the ROP Laws all require the

nonconsensual public appropriation of a person’s identity, and here there is no dispute that any

subscriber list sales are private. Indeed, Plaintiffs do not claim Meredith shared their names with

anyone. Second, the ROP laws require the appropriation of a person’s identity to sell or advertise

a separate product or service, such as putting an athlete’s face on a cereal box without

permission. Here, Plaintiffs do not and cannot allege that Meredith publicly used their identities

to sell or advertise anything, let alone a product or service separate from the person’s identity.

Plaintiffs seek to expand the ROP Laws to cover conduct they were never intended to prohibit:

the private exchange of truthful information in subscriber lists. Unsurprisingly, there is not a

single case where a court has permitted such a claim to proceed.

       Every court to consider whether the private sale of mailing lists violates right-of-publicity

laws has held it does not. Just recently, a district court dismissed a nearly identical right-of-



1
  As explained in Meredith’s Corporate Disclosure Statement, ECF No. 9, in December 2021, the
assets of Meredith Corporation relevant to this litigation were transferred to Meredith Operations
Corporation, a wholly owned subsidiary of Meredith Holdings Corporation. Dotdash Media, Inc.,
a wholly owned subsidiary of IAC/InterActiveCorp, then acquired Meredith Holdings
Corporation. Meredith now does business as “Dotdash Meredith.”


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publicity claim involving mailing lists because the subscriber’s identity was not used to promote

or advertise another product, i.e., it was not used for a “commercial purpose,” as required under

the Illinois right-of-publicity law. See Huston v. Hearst Commc’ns, Inc., No. 21-cv-1196, 2022

WL 385176, at *3 (C.D. Ill. Feb 7, 2022). Each of the ROP Laws involved in this action has the

same core “commercial purpose” requirement as the statute in Huston, and the same result—

dismissal—is mandated here.

       The Court need not reach the merits of these claims, however, as Plaintiffs fail to allege a

concrete injury and therefore lack Article III standing. Plaintiffs allege bare statutory violations

of the ROP Laws, without more. This is not a concrete injury for purposes of Article III.

Plaintiffs attempt to elude this requirement by urging the Court to indulge a series of speculative

inferences to arrive at the mere possibility of a future, hypothetical injury, namely that:

(1) Plaintiffs’ names might be on subscriber mailing lists; (2) Meredith might sell the mailing

lists to direct mail marketers; and (3) the direct mail marketers might then share the mailing lists

with “malevolent actors with the tools needed to target particular members of society.” (Compl.

¶¶ 1–5.) Plaintiffs do not claim to have been targeted—whatever that means—by malevolent

actors, and their conjectural allegations of possible future harm fall far short of a concrete injury.

       Beyond the fatal standing defect, Plaintiffs fail to state a claim under the ROP Laws, all

of which have the same core requirements: (1) the nonconsensual use of a person’s identity for a

“commercial purpose,” i.e., to sell, market, or advertise a separate product, good, or service;

(2) the nonconsensual use must be public; and (3) it must deprive the person of a property

interest in the value of his or her identity. Plaintiffs do not allege that Meredith used their names

to sell a separate product, that Meredith publicly used their names, or that Meredith somehow

deprived Plaintiffs of the value of their names. Nor do Plaintiffs claim to have suffered any




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injury that the ROP Laws were intended to remediate, and thus they lack statutory standing as

well.

        In short, Plaintiffs’ novel claims are far wide of the mark. Their overreaching

interpretation of the ROP Laws would effectively bar the distribution of truthful subscriber

information—akin to the lists found in telephone books, professional directories, and other

informational compilations—without first obtaining the consent of every person whose name is

included therein. Any such interpretation would convert the otherwise salutary ROP Laws into

unconstitutional restrictions on speech protected by the First Amendment.

        For all o these reasons, the Court should dismiss the complaint with prejudice.

                                         BACKGROUND

        Meredith is a media company based in Iowa that, among other things, publishes print

magazines focused on entertainment, food, lifestyle, parenting, and home. (Compl. ¶ 1.)

Plaintiffs are residents of California, Ohio, Puerto Rico, South Dakota, and Washington who

allegedly subscribed to the following Meredith magazines at some unspecified “time period

relevant to this action” (Compl. ¶¶ 26–33):

 Name                              Magazine(s)                       State of Residence

 Joan Burke                        Better Homes & Gardens            California
                                   (“BHG”), Southern Living

 Sharon McKinney                   BHG                               California

 Candyce Marto-Maedel              BHG, Entertainment Weekly,        California
                                   InStyle

 Adele Hetzel                      BHG                               Ohio

 Norma Goldberger                  BHG                               Ohio

 Maribel Ramirez                   Allrecipes, Real Simple           Puerto Rico



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    Belinda Powers                  BHG                                  South Dakota

    Julie Beach                     People                               Washington



         Plaintiffs allege that Meredith violated ROP Laws in each of these jurisdictions by:

(1) tracking its subscribers’ names, addresses, and subscription history in a “vast digital

database” (Compl. ¶ 40); (2) disclosing this information to “data aggregators and appenders,”

which then provide to Meredith unspecified “supplemental information”2 about the subscribers

(id. at ¶¶ 3, 41); and (3) selling the resulting subscriber lists (which Plaintiffs term “Data

Brokerage Products”) to unnamed direct mail marketers (described as “Data Brokerage Clients”)

(id. at ¶¶ 2, 42). Plaintiffs speculate that, because they subscribed to Meredith magazines, their

names and addresses might have been sold to such marketers without their consent. (Id. at ¶¶ 62–

129.) Plaintiffs further hypothesize that their names and addresses could wind up in the hands of

“malevolent actors with the tools needed to target particular members of society.” (Id. at ¶ 5.)

         Plaintiffs do not allege that their own names or addresses were actually sold to anyone. In

fact, Plaintiffs aver that “customers remain unaware that their identities are being trafficked in

the open market in this way.” (Compl. ¶ 47.) Similarly, Plaintiffs do not allege that any specific

entity purchased subscriber lists containing Plaintiffs’ names. Nor do Plaintiffs allege to have

seen their own names (or the name of any other Meredith subscriber) on any subscriber list,

despite alleging that such lists are “offered for sale in, and . . . ultimately sold and entered into

commerce throughout . . . the United States.” (Compl. ¶ 43.) Plaintiffs claim to have been

injured solely from alleged statutory “violations of their rights of publicity that they suffered as a


2
 With zero factual support, Plaintiffs speculate that the “supplemental information” may include
gender, ethnicity, religion, age, income, political party, and charitable donation history. (Compl.
¶¶ 3, 67, 96, 112.)

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result of Defendant’s nonconsensual use of their names and likenesses,” for which they seek

statutory damages. (Id. at ¶¶ 73–74, 86–87, 103–104, 119, 129.)

                                       LEGAL STANDARD

I.      DISMISSAL UNDER RULE 12(B)(1) FOR LACK OF SUBJECT-MATTER JURISDICTION

        Article III requires a plaintiff to have suffered “an injury [that is] concrete, particularized,

and actual or imminent; fairly traceable to the challenged action; and redressable by a favorable

ruling.” Clapper v. Amnesty Int’l, USA, 568 U.S. 398, 409 (2013) (citation and quotation marks

omitted). “For an injury to be ‘particularized,’ it ‘must affect the plaintiff in a personal and

individual way.’” Spokeo, Inc. v. Robins, 578 U.S. 330, 339 (2016) (citation omitted). A

“concrete” injury “must actually exist” and be “‘real’ and not ‘abstract.’” Id. A future,

“threatened injury must be certainly impending to constitute injury in fact,” and “allegations of

possible future injury’ are not sufficient” to confer standing. Clapper, 568 U.S. at 409 (citation

omitted) (emphases in original). Plaintiffs “must demonstrate standing for each claim that they

press and for each form of relief that they seek . . . .” TransUnion LLC v. Ramirez, 141 S. Ct.

2190, 2208 (2021) (citations omitted).

II.     DISMISSAL UNDER RULE 12(B)(6) FOR FAILURE TO STATE A CLAIM

        Rule 12(b)(6) requires that a complaint set forth “sufficient factual matter, accepted as

true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009) (citation omitted). “Threadbare recitals of the elements of a cause of action, supported by

mere conclusory statements, do not suffice.” Id. (citation omitted). When stripped of “conclusory

statement[s],” a complaint must do more than “create[] a suspicion of a legally cognizable right

of action”; it must raise the right to relief above the speculative level. Bell Atl. Corp. v. Twombly,

550 U.S. 544, 555 (2007) (citations omitted); McDonough v. Anoka Cnty., 799 F.3d 931, 945–46

(8th Cir. 2015) (same). A complaint that “pleads ‘labels and conclusions,’ or a ‘formulaic


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recitation’ of the elements of a cause of action, or ‘naked assertions’ devoid of factual

enhancements will not suffice.” Hamilton v. Palm, 621 F.3d 816, 817 (8th Cir. 2010) (quoting

Iqbal, 556 U.S. at 677–79).

                                           ARGUMENT

I.     PLAINTIFFS LACK ARTICLE III STANDING BECAUSE THEY DO NOT ALLEGE A
       CONCRETE INJURY

       “No concrete harm, no standing.” TransUnion, 141 S. Ct. at 2201–02. That is how the

Supreme Court recently summarized its injury-in-fact jurisprudence. Plaintiffs’ allegations fail

this requirement because the only “harms” they allege are bare violations of the ROP Laws

themselves, which, without more, are insufficient to constitute Article III injury as a matter of

law. Searching for more, Plaintiffs stack a pile of unsupported inferences like a house of cards

and ask the Court to arrive at the wholly speculative conclusion that Plaintiffs may in the future

be harmed if their subscriber information falls into the wrong hands. This is exactly the sort of

speculative future harm rejected by TransUnion.

       As for Plaintiffs’ first theory of harm—bare statutory violation—the Supreme Court has

repeatedly rejected the idea that “a plaintiff automatically satisfies the injury-in-fact requirement

whenever a statute grants a person a statutory right to sue and purports to authorize that person to

sue to vindicate that right.” Spokeo, 578 U.S. at 341. That is because “under Article III, an injury

in law is not an injury in fact[,]” and “[o]nly those plaintiffs who have been concretely harmed

by a defendant’s statutory violation may sue that private defendant over the violation in federal

court.” TransUnion, 141 S. Ct. at 2205 (emphasis in original).

       In TransUnion, plaintiffs alleged that TransUnion’s internal credit database incorrectly

indicated that certain class members were on an OFAC list of persons deemed threats to national

security, an error that violated the Fair Credit Reporting Act and almost certainly would have



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jeopardized their ability to obtain credit. Id. at 2201–02. TransUnion had not disclosed these

erroneous credit reports to any potential creditors. Id. at 2209. The Court held that the alleged

injury was insufficiently concrete because “[t]he mere presence of an inaccuracy in [a] credit

file, if it is not disclosed to a third party, causes no concrete harm.” Id. at 2209–10. Comparing

the inaccurate reports to a letter stored in a desk drawer, the Court explained: “[a] letter that is

not sent does not harm anyone, no matter how insulting the letter is.” Id. at 2210.

       The same reasoning applies with equal force here, where Plaintiffs “remain unaware that

their identities are being trafficked in the open market . . . .” (Compl. ¶ 47.) Indeed, Plaintiffs do

not claim that they ever saw their names on a Meredith subscriber list, that their identities were

ever publicized (as required to come within the scope of the ROP Laws), or that a list containing

their names was ever sold to a particular third party. (Compl. ¶¶ 38–49.) Here, as in TransUnion,

the subscriber lists—which may not even contain Plaintiffs’ names—are functionally in a desk

drawer. See TransUnion, 141 S. Ct. at 2210.

       Numerous courts have dismissed statutory right-of-publicity claims for lack of concrete

injury where, as here, plaintiffs alleged only a bare statutory violation. In Callahan v.

Ancestry.com, Inc., No. 20-CV-08437-LB, 2021 WL 2433893, at *1 (N.D. Cal. Jun. 15, 2021),

the plaintiffs alleged that Ancestry had violated California’s right-of-publicity law, Cal. Civ.

Code § 3344—one of the ROP Laws at issue here—by including plaintiffs’ names, yearbook

photographs, and other biographical information in promotional emails to solicit paying

subscribers. Id.3 The court dismissed the case for lack of standing, holding that using plaintiffs’

public information to solicit customers, “standing alone, does not establish injury, even though




3
 An earlier decision in the case, Callahan v. Ancestry.com Inc., No. 20-CV-08437-LB, 2021 WL
783524 (N.D. Cal. Mar. 1, 2021), details the type of information at issue.


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Ancestry profits from the use. There needs to be more than the statutory injury.” Id. at *3

(emphasis added).

       In rejecting the plaintiffs’ argument that an alleged § 3344 violation could be sufficient

for Article III standing, the court analyzed, consistent with Spokeo and TransUnion (which was

decided 10 days after Callahan), whether § 3344 protects “fundamental” privacy rights, such that

a statutory violation alone could establish standing, even absent additional injury. Id. at *4. The

court distinguished § 3344 from statutes that protect fundamental, Fourth Amendment-like

interests—including the California Invasion of Privacy Act, the Wiretap Act, and the Stored

Communications Act, all of which guard the right to be free from unreasonable government

intrusion—and held that “the rights protected by [§ 3344] are not analogous to the fundamental

and historical privacy rights . . . .” Id. The same analysis holds true in this case, which involves

ROP Laws that plainly do not implicate fundamental, Fourth Amendment-like interests.4

       Likewise, the court in Verde v. Confi-Chek, Inc., No. 21 C 50092, 2021 WL 4264674, at

*2 (N.D. Ill. Sept. 20, 2021), recently dismissed the plaintiff’s claims under the Illinois Right of

Publicity Act (“IRPA”)—which is substantially similar to the ROP Laws here—for failure to

plead a concrete injury. In Verde, the plaintiff alleged that the owner of the website

peoplefinders.com had violated the IRPA by displaying a free “preview page” containing the

plaintiff’s name and other biographical information, along with a link through which a more



4
  The pre-Spokeo decisions Fraley v. Facebook, 830 F. Supp. 2d 785 (N.D. Cal. 2011), and
Perkins v. LinkedIn Corp., 53 F. Supp. 3d 1190 (N.D. Cal. 2014), do not establish that an alleged
violation of § 3344, by itself, satisfies Article III’s injury-in-fact requirement. Both cases are
readily distinguishable on the Article III issue, as the plaintiffs alleged the use of their names or
likenesses to endorse separate products or services, a quintessential common-law right-of-
publicity injury not at issue here. See Perkins, 53 F. Supp. 3d at 1211; Fraley, 830 F. Supp. 2d at
790, 797. Further, both cases were decided before Spokeo established the more stringent injury-
in-fact requirements in cases where, as here, a plaintiff alleges a bare statutory violation—thus
calling into question whether they remain good law. See 578 U.S. at 341.


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detailed background report could be purchased. Id. at *1, *3. Noting that the plaintiff did not

“allege that any third party ever searched her name or viewed her ‘free preview,’” i.e., there was

no pleaded “injury” separate from the mere statutory violation, the court dismissed the case for

lack of standing. Id. at *5.

        Plaintiffs’ fallback theory of injury—risk of future harm—is equally defective. The

Supreme Court has held time and again that speculative allegations of future harm are

insufficient to establish concrete injury. See, e.g., Clapper, 568 U.S. at 411 (plaintiffs lacked

standing where they “merely speculate and make assumptions about whether their

communications with their foreign contacts will be acquired”); TransUnion, 141 S. Ct. at 2211

(“[I]n a suit for damages, the mere risk of future harm, standing alone, cannot qualify as a

concrete harm.”).

        Here, Plaintiffs ask the Court to speculate that: (1) their names and addresses may appear

on Meredith’s subscriber mailing lists; (2) these lists could be sold to direct mail marketers;

(3) the direct mail marketers might provide Plaintiffs’ subscriber information to “malevolent

actors with the tools needed to target particular members of society”; and (4) those “malevolent

actors” might then engage in some form of unspecified “target[ing]” against Plaintiffs. (Compl.

¶¶ 1–5.) This “highly attenuated chain of possibilities,” Clapper, 568 U.S. at 410, is far too

conjectural and hypothetical to confer Article III standing.

        For these reasons, the Court should dismiss the Complaint for lack of standing.

II.     PLAINTIFFS FAIL TO STATE A CLAIM UNDER THE RIGHT-OF-PUBLICITY LAWS

        All five of the ROP Laws at issue contain the same core requirements, which Plaintiffs

fail to meet. First, the plaintiff’s identity must be used without consent for a commercial

purpose, i.e., to sell, advertise, or solicit the purchase of a product that is separate from the

identity itself. Second, there must be a public use of the plaintiff’s unique identity. Third, the


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nonconsensual commercial use must deprive the plaintiff of a property right in the value of her

identity. Plaintiffs’ allegations must satisfy each one of these requirements to avoid dismissal.

The allegations here fail to satisfy any of them. Accordingly, the Complaint must be dismissed

for failure to state a claim.

        A.       Right-of-Publicity Laws Protect Property Rights in Limited Commercial
                 Contexts, Not the Mere Use of a Name

        The concept of a “right of publicity” is of relatively recent origin in American

jurisprudence. The phrase “right of publicity” first appeared in Pavesich v. New England Life

Ins. Co., 50 S.E. 68, 70 (Ga. 1905). In that case, the plaintiff sued a life insurance company and

others for publishing his photo without his consent in an advertisement for life insurance. Id. at

68. The Georgia Supreme Court surveyed the law at the time, including Roberson v. Rochester

Folding Box Co., 64 N.E. 442 (N.Y. 1902), where the New York Court of Appeals had held that

a woman whose likeness was used to advertise flour without her consent had no remedy in law

or equity because there was no property right in the use of one’s image, absent libel. Pavesich,

50 S.E. at 77. Acutely aware of the controversy created by the Roberson decision, Pavesich

adopted the Roberson dissent’s view and held:

                 [T]he law recognizes, within proper limits, as a legal right, the
                 right of privacy, and the publication of one’s picture without his
                 consent as an advertisement, for the mere purpose of increasing the
                 profits and gain to the advertiser, is an invasion of this right.

Id. at 80–81.5



5
  New York’s legislature swiftly reacted to Roberson by passing the first statutory right-of-
publicity law in 1903, N.Y. Civ. Rights Law §§ 50–51, which is still in effect. See Time, Inc. v.
Hill, 385 U.S. 374, 380 (1967). Though titled “right of privacy,” the term “privacy” appears
nowhere in the statute’s text, which “appears to proscribe only the conduct . . . involved in
Roberson, that is, the appropriation and use in advertising or to promote the sale of goods, of
another’s name, portrait or picture without his consent.” Id. at 381. The law provides: “A person,
firm or corporation that uses for advertising purposes, or for the purposes of trade, the name,


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       The right of privacy was limited, however; it was not an assignable property right, and it

did not provide a basis to control the sale of one’s name or likeness in the celebrity context. Hart

v. Elec. Arts, Inc., 717 F.3d 141, 150 (3d Cir. 2013). The first case to formally distinguish the

right of publicity from the right of privacy, Haelan Labs., Inc., v. Topps Chewing Gum, Inc.,

involved the right to use a famous baseball player’s photograph to sell gum. 202 F.2d 866, 867

(2d Cir. 1953). The Second Circuit held that “independent of [the] right of privacy,” an

individual has “the right to grant the exclusive privilege of publishing his picture.” Id. at 868

(emphasis added). And, unlike the purely “personal” right to privacy that protects a plaintiff’s

“feelings,” the right of publicity protects the “publicity value of [plaintiff’s] photograph.” Id.

(emphasis added). In other words, the right to publicity, as distinguished from a right of privacy,

is a property right that is protected in narrow commercial contexts.

       The independent right of publicity was explicitly recognized in William Prosser’s treatise

defining the four privacy torts, with the right of publicity defined as the “appropriation or

exploitation of one’s personality,” and as “refer[ring] to those situations where the plaintiff’s

name or likeness is displayed to the public to indicate that the plaintiff endorses the defendant’s

product or business.” Shibley v. Time, Inc., 341 N.E.2d 337, 339 (Ohio Ct. App. 1975) (citing W.

Prosser, Law of Torts § 117 (4th ed. 1971) and dismissing plaintiff’s claim that selling

subscription lists to direct mail advertisers was an invasion of privacy). See also Restatement

(Second) of Torts § 652C cmt. d (Am. Law Inst. 1977) (“It is only when the publicity is given for

the purpose of appropriating to the defendant’s benefit the commercial or other values associated




portrait or picture of any living person without having first the written consent of such
person . . . is guilty of a misdemeanor.” N.Y. Civ. Rights Law § 50.


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with the name or the likeness that the right of privacy is invaded.”).6 Zacchini v. Scripps-Howard

Broad. Co., one of the few Supreme Court cases on the right of publicity, grounded the rationale

for protecting this right in “provid[ing] an economic incentive for [the holder] to make the

investment required to produce a performance of interest to the public.” 433 U.S. 562, 576

(1977).

          Because the underlying purpose of the right of publicity is to protect a valuable property

right from misappropriation, the most typical cases involve “the appropriation of a celebrity

likeness [to] create[] a false and misleading impression that the celebrity is endorsing a product.”

Comedy III Prods., Inc. v. Gary Saderup, Inc., 21 P.3d 797, 802 (Cal. 2001) (collecting cases).

These cases recognize that “a celebrity’s property interest in his name and likeness is unique,”

Michaels v. Internet Entm’t Grp., Inc., 5 F. Supp. 2d 823, 837 (C.D. Cal. 1998), as celebrities

“have invested years of effort in establishing their public personae, and their ability to exploit

their investments will be irreparably harmed by exploitation of their names and likeness in

connection with marketing of” products they did not endorse. Id. at 838 (enjoining adult

entertainment company from using celebrity-plaintiffs’ names or likenesses to sell a sex tape

depicting them).

          While today’s right-of-publicity laws are not confined to public figures, the right remains

“in the nature of a property right” to exploit one’s unique identity in narrow commercial

contexts. Restatement (Third) of Unfair Competition § 46 cmt. g (1995) (“The interest in the

commercial value of a person’s identity is in the nature of a property right,” and “an assignment



6
  Courts relied on the Restatement (Second) of Torts § 652C in initially recognizing the right of
publicity. However, in 1995, in recognition of the right’s primary focus on the value of one’s
ability to market one’s persona for commercial purposes, the American Law Institute relocated
the right of publicity to Chapter 4 of the Restatement (Third) of Unfair Competition. Restatement
(Third) of Unfair Competition § 46 (Am. Law Inst. 1995).


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of the right of publicity transfers only the right to exploit the commercial value of the assignor’s

identity[.]”). The purpose of the right to publicity “is to protect the property interest that an

individual gains and enjoys in his identity through his labor and effort,” and “as with protections

for intellectual property, [it] is designed to encourage further development of this property

interest.” Hart, 717 F.3d at 151.7

       All the ROP Laws at issue here contain these three core components: (1) an infringing

(i.e., nonconsensual) use of a property right in a unique identity for the nonconsensual

“commercial purpose” of selling, advertising, or promoting a separate product; (2) that is public;

and (3) that deprives a person of her property right in the value of her unique identity.

       The statutes Plaintiffs invoke provide, in relevant part:

              California Civ. Code § 3344: “Any person who knowingly uses another’s
               name, voice, signature, photograph, or likeness, in any manner, on or in products,
               merchandise, or goods, or for purposes of advertising or selling, or soliciting
               purchases of, products, merchandise, goods or services, without such person’s
               prior consent . . . shall be liable . . . . ”
              Ohio Rev. Code. Ann. §§ 2741.01 & 2741.02: “[A] person shall not use any
               aspect of an individual’s persona for a commercial purpose . . .”; “‘Persona’
               means an individual’s name, voice, signature, photograph, image, likeness, or
               distinctive appearance, if any of these aspects have commercial value”;
               “‘Commercial purpose’ means the use of or reference to an individual’s
               persona . . .”: “(1) On or in connection with a place, product, merchandise, goods,
               services, or other commercial activities . . .; (2) For advertising or soliciting [a]



7
  Courts in the relevant jurisdictions for the ROP Laws have looked to the law of intellectual
property to delineate the rights protected by the right of publicity. See, e.g., Hilton v. Hallmark
Cards, 599 F.3d 894, 909 (9th Cir. 2010) (applying copyright’s transformative use test to balance
the First Amendment against the California common-law right of publicity); ETW Corp. v. Jireh
Pub., Inc., 332 F.3d 915, 938 (6th Cir. 2003) (applying the same test to the Ohio common-law
right of publicity). Similarly, the principles that justify awarding a plaintiff the profits from a
defendant’s infringing use in copyright and trademark law are analogous to the theory that grants
plaintiffs the right to recover profits from an infringer in right-of-publicity cases. See 2 J.
Thomas McCarthy, The Rights of Publicity and Privacy § 11:34 (2d ed. 2021); see also Cal. Civ.
Code § 3344(a); Ohio. Rev. Code Ann. § 2741.07(a); S.D. Codified Laws § 21-64-5 (2); Wash.
Rev. Code § 63.60.060(2); P.R. Laws Ann. tit. 32, § 3153.

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              purchase . . .; (3) For the purpose of promoting travel to a place; (4) For the
              purpose of fundraising.”
             Puerto Rico Laws Ann. tit. 32, §§ 3151 & 3152: “Any . . . person who uses
              another’s likeness for commercial, trade, or advertising purposes
              without . . . previous consent . . . shall be liable”; “Likeness” means the “[n]ame,
              photograph, portrait, voice, signature, attribute or any representation of a person
              through which an average observer or listener may identify the same, produced
              using any reproduction procedure or technique”; “Commercial purpose” means
              “[t]he use of a person’s likeness in connection with an advertisement, offer, or
              sale of a product, merchandise, good or service in the market.”
             South Dakota Codified Laws §§ 21-64-1 & 21-64-2: “No person may use any
              aspect of a personality’s right of publicity for a commercial purpose . . . without []
              express written consent”; “Personality” means a person “whose name, voice,
              signature, photograph, image, likeness, distinctive appearance, gesture, or
              mannerism identifies a specific person and has commercial value”; “‘Commercial
              purpose’ [means] the use of an aspect of a personality’s right of publicity in
              connection with a product, merchandise, goods, service, or commercial
              activity; for advertising or soliciting purchases of a product, merchandise, goods,
              service, or for promoting a commercial activity; or for the purpose of fund-
              raising.”
             Washington Rev. Code §§ 63.60.010 & 63.60.050: “Any person who uses or
              authorizes the use of a living or deceased individual’s or personality’s name,
              voice, signature, photograph, or likeness, on or in goods, merchandise, or products
              entered into commerce in this state, or for purposes of advertising products,
              merchandise, goods, or services” without consent “has infringed such right.”8

       All the ROP Laws describe the right of publicity—the right to protect one’s unique

identity from being misappropriated in commercial contexts to advertise or sell products—as a



8
  The Washington Personality Rights Act (“WPRA”) also requires that the goods, merchandise,
or products on which the identity are used must have “entered into commerce in this state.”
Wash. Rev. Code § 63.60.050. Plaintiff Beach makes only a single-sentence, conclusory
allegation that Meredith “ultimately sold and entered into commerce” its subscriber lists in the
state of Washington. (Compl. ¶ 43.) The Complaint alleges that Meredith is headquartered in
Iowa and maintains its principal place of business there but does not allege where any of the
alleged mailing list purchasers are located. (Compl. ¶ 34.) There is therefore no basis to assert
that the mailing lists entered into commerce in Washington, and Plaintiffs’ “‘naked assertion’
devoid of ‘further factual enhancement’” is insufficient to state a WPRA claim. Bravado Int’l
Grp. Merch. Servs., Inc. v. Gearlaunch, Inc., CV 16-8657-MWF(CWX), 2018 WL 6017035, at
*2, *10 (C.D. Cal. Feb. 9, 2018) (quoting Iqbal, 556 U.S. at 678, and Twombly, 550 U.S. at 555).
Plaintiffs also may not pursue WPRA claims on a class-wide basis. Wash. Rev. Code §
63.60.070(3) (plaintiffs “shall not bring their cause of action as a class action”).

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property right. See Cal. Civ. Code § 3344.1(b) (“The rights recognized under this section are

property rights, freely transferable or descendible . . .”); Ohio Rev. Code Ann. §§ 2741.01,

2741.04 (same); Wash. Rev. Code § 63.60.010 (same); P.R. Laws Ann. tit. 32, § 3154 (same);

S.D. Codified Laws §§ 21-64-1 & 21-64-4 (same). Importantly, the scope of this property right is

limited to the use of a person’s identity for a covered commercial purpose: advertising,

merchandising, marketing, endorsing, or promoting other products or services. None of the ROP

Laws purports to grant an all-purpose right to prohibit any use of a name in all, or even most,

circumstances; they prohibit only infringing commercial uses. As discussed below, each court

that has considered whether the private sale of subscriber lists violates the right of publicity has

held it does not. For this and other reasons, Plaintiffs’ claims must be dismissed.

       B.      The Private Sale of Mailing Lists Does Not Violate the ROP Laws

       Despite its use of opaque labels like “Data Brokerage Products” and “Data Brokerage

Clients,” the Complaint merely alleges, in conclusory fashion, the private sale of subscriber

mailing lists to direct mail marketers. This long-standing practice does not violate the ROP

Laws, as multiple courts have held.

       Just recently, Judge Mimh in the Central District of Illinois dismissed a nearly identical

right-of-publicity claim brought by a subscriber (represented by some of the same plaintiffs’

counsel here) against Hearst, a magazine publisher. Huston, 2022 WL 385176, at *1. The Huston

plaintiff alleged that Hearst impermissibly used her identity for a “commercial purpose”9 by

selling mailing lists containing her name and address to unspecified direct mail marketers. Id. at

*1–2. The court dismissed the complaint for failure to state a claim because even assuming that


9
  The IRPA defines “commercial purpose” as, inter alia, “the public use or holding out of an
individual’s identity (i) on or in connection with the offering for sale or sale of a product,
merchandise, goods, or services . . . .” 765 ILCS 1075/5. As noted supra at pp. 12–14, the ROP
Laws contain substantially the same “commercial purpose” requirement.


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“Hearst made mailing lists of its subscribers available for others to purchase so they can send

advertisements to the subscribers, this alone does not meet the ‘commercial purpose[]’

requirement under the IRPA.” Id. at *5 (citing Dobrowolski v. Intelius, Inc., No. 17 CV 1406,

2018 WL 11185289, at *3 (N.D. Ill. May 21, 2018) (“The plaintiffs’ identities are not used to

promote a separate product—they are used because plaintiffs’ identities are part of the product

offered for sale. And this is not a commercial purpose as defined by the statute.”)). The Huston

court noted that the “purchase of mailing lists of subscribers has been a standard practice in the

direct mail industry,” and the plaintiff “failed to cite any case law to support [an] interpretation

of the IRPA” that would prohibit the sale of mailing lists without prior subscriber consent. Id. at

*3 (citing U.S. News & World Report, Inc. v. Avrahami, 95-1318, 1996 WL 1065557, at *7 (Va.

Cir. Ct. Jun. 13, 1996)). The same reasoning applies to each of the ROP Laws, which contain

substantially the same definition of “commercial purpose.”

       In Avrahami, an analogous case cited in Huston, the court dismissed after trial a

magazine subscriber’s claim against U.S. News & World Report under Virginia’s right-of-

publicity statute, where the subscriber’s name was on a larger mailing list that was “exchanged,

rented, or sold” to specific direct mail marketers, including Smithsonian Magazine. Avrahami,

1996 WL 1065557, at *7. In delineating the limited scope of the right of publicity, the court held

that the subscriber had “no property right in [his] name” for purposes of its inclusion on “mailing

lists . . . comprised of individual names and addresses,” even where the lists were sold to specific

entities for direct marketing purposes. Id. at *6–7. The court explained that “the inclusion of a

name as part of a larger mailing list for purposes of a direct mail solicitation does not constitute

use of that name in the promotion of an actual product or service itself.” Id. at 7 (emphasis

added). Nor was the inclusion of the subscriber’s name on a mailing list “a use for an advertising




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purpose nor a use for the purpose of trade, as defined by the statute.” Id.

         The Avrahami court also held that the subscriber’s name, of itself, lacked “any

commercial value,” id. at *6, because “[i]t is not possible to rent only one name on a mailing

list,” and the mailing lists at issue typically contained “at least 100,000 names and addresses.” Id.

at *2. Rather, “the value of a list comes not from the individual names contained on the list, but

entirely from the list’s association with a particular organization or group.” Id. Thus, the court

noted:

                [W]hen the . . . list was exchanged, neither U.S. News nor the
                Smithsonian knew the specific names contained on the magnetic
                computer strip, U.S. News did not identify any individual name
                that would be contained on the magnetic computer strip, and U.S.
                News did not promote or advertise its list as containing any
                particular name.

Id. at *4.

         The same analysis holds true here. Plaintiffs do not claim that any of the unnamed direct

mail marketers—or “Data Brokerage Clients,” as Plaintiffs call them—seek subscriber lists from

Meredith because the lists contain any particular names, much less their own. (Compl. ¶¶ 40–

45.) Quite the opposite; the marketers allegedly seek the lists because of their association with

Meredith and its “vast digital database.” (Id. at ¶¶ 39, 42.) Nor is there any allegation that the

direct mail marketers have any way of knowing what names are on the lists prior to receipt. And

Plaintiffs do not claim that they have seen their own names in any “database” or on any mailing

list maintained by Meredith. Here, as in Avrahami, there is no right-of-publicity violation

because Plaintiffs’ names are not used “in the promotion of an actual product or service itself.”

Avrahami, 1996 WL 1065557, at *7.

         The Northern District of California reached the same result in Brooks v. Thomson Reuters

Corp., No. 21-CV-01418, 2021 WL 3621837 (N.D. Cal. Aug. 16, 2021), where the plaintiffs



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alleged that Thompson Reuters had violated their rights of publicity under California Civil Code

§ 3344 by collecting their public and private information (including their “criminal history,”

“employment information,” and live “location data”) in dossiers and then selling the dossiers to

customers. Id. at *2. Thompson Reuters argued that it did not “appropriate Plaintiffs’ name,

likeness, or personal information for a commercial advantage because it was not using that

information ‘for purposes of publicity.’” Id. at *3. Observing that “[v]irtually all right of

publicity cases involve the use of a person’s name or likeness to advertise a separate product or

service,” the court held that plaintiffs did not state a claim under § 3344 or the common law

because the dossiers containing their information “were sent only to . . . subscribers who

deliberately paid Thomson Reuters to receive information about them.” Id. at *4–5 (emphasis

added). 10 In other words, Thompson Reuters was “not using Plaintiffs’ name or likeness ‘for

promotional purposes.’” Id. at *4.

       Similarly, in Shibley, 341 N.E.2d at 338, the court affirmed the dismissal of the plaintiffs’

Ohio common-law claims that magazine publishers had “appropriated or exploit[ed]” their

“personalit[ies]” by renting and selling subscriber lists containing their names to direct mail



10
   As the Brooks court noted, “[v]irtually all right of publicity claims involve the use of a
person’s name or likeness to advertise a separate product or service.” 2021 WL 3621837, at *4.
See, e.g., Hilton, 599 F.3d at 899–900 (use of reality TV star’s image and signature phrase on
greeting cards); Solano v. Playgirl, Inc., 292 F.3d 1078, 1081–82 (9th Cir. 2002) (use of famous
actor’s photograph on cover of adult magazine); Downing v. Abercrombie & Fitch, 265 F.3d
994, 999–1000 (9th Cir. 2001) (use of notable surfer’s photograph from surfing competition on
clothing catalogue); Newcombe v. Adolf Coors Co., 157 F.3d 686, 689 (9th Cir. 1998) (use of
drawing depicting major league baseball pitcher on beer advertisement); Wendt v. Host Int’l,
Inc., 125 F.3d 806, 808 (9th Cir. 1997) (use of robots resembling famous actors from TV show
Cheers to promote airport bars); Abdul-Jabbar v. Gen. Motors Corp., 85 F.3d 407, 410 (9th Cir.
1996) (use of Hall of Fame basketball player’s identity in car advertisement); White v. Samsung
Elecs. Am., Inc., 971 F.2d 1395, 1396 (9th Cir. 1992) (use of robot resembling nationally
televised game-show host in electronics advertisement); Eastwood v. Superior Court, 198 Cal.
Rptr. 342, 347 (Cal. Ct. App. 1983) (use of famous actor’s name and photograph on magazine
cover).

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advertisers. Relying on Prosser, the court observed that the tort of “appropriation or exploitation

of one’s personality” “refers to those situations where the plaintiff’s name or likeness is

displayed to the public to indicate that the plaintiff indorses the defendant’s product or business.”

Id. (citing Prosser, Law of Torts § 117 (4th ed. 1971)). The court held that the sale of subscriber

mailing lists “does not fit into that classification,” as there was no public display and no implied

endorsement.

       In yet another right-of-publicity case involving subscriber lists, Dwyer v. American

Express Co., the court affirmed the dismissal of an Illinois common-law right-of-publicity claim

because there was no “appropriation . . . of one’s name or likeness for another’s use or benefit.”

652 N.E.2d 1351, 1356 (Ill. App. Ct. 1995). There, as here, the plaintiffs alleged that the

defendant had sold mailing lists containing their “personalities, including their names and

perceived lifestyles.” Id. And there, as here, the plaintiffs were not “deprive[d] . . . of any value

their individual names may possess.” Id. That is because “a single, random cardholder’s name

has little or no intrinsic value to defendants (or a merchant). Rather, an individual name has

value only when it is associated with one of defendants’ lists.” Id.

       All the above right-of-publicity mailing list cases have a common thread: the inclusion of

a name in a mailing list does not implicate a “commercial purpose” because the names are not

used to sell or endorse anything. And because the names are not used to sell anything, their value

is not misappropriated. Plaintiffs’ claims simply do not implicate the right of publicity and

should be dismissed.

       Plaintiffs do not even allege that their identities were used to sell or advertise a separate

product or service. This alone is fatal to their claim because the case law demonstrates that the

“separate product” requirement is integral to the “commercial purpose” limitation. As the Brooks




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court held: “The use of a person’s name and likeness to promote a product (other than which

pertains to the person themselves) is the essence of an ‘appropriation’ of one’s name or

likeness.” 2021 WL 3621837, at *5. See also Dobrowolski, 2018 WL 11185289, at *3 (an

identity that is not used “to promote a separate product” but rather is itself “the product offered

for sale” is “not [used for] a commercial purpose”).

       Here, all the ROP Laws require a commercial use such as advertising, selling a product or

service, or promoting a commercial activity. See Espinosa v. Whitepage, Inc., 2015 WL

5813873, at *3 (E.D. Cal. 2015) (dismissing plaintiff’s claims under Cal. Civ. Code § 3344

because plaintiffs did not sufficiently allege a direct connection between the alleged use of

plaintiff’s identity and a commercial purpose); Metz v. Titanium Metals Corp., 2011 WL

13186529, at *19 (S.D. Ohio 2011) (dismissing claim under Ohio Rev. Code § 2741 because

plaintiff did not show how defendant used plaintiff’s outgoing voicemail message “in connection

with services for a commercial purpose”); see also Hillstrand v. Catch Planet, LLC, 2013 WL

12114785, at *2 (W.D. Wash. 2013) (denying motion to dismiss because plaintiffs properly

alleged under Wash. Rev. Code § 63.60.050 that defendants were using their likenesses in

advertising or fundraising); Ayala Otero v. Rivera Nevis, 2016 WL 5369286, at *20 (P.R. Ct.

App. 2016) (Declaration of Joseph D. Mornin, Exh. B) (“It is also stated that the unauthorized

use of a person's image for commercial purposes . . . gives rise to . . . the violation of the affected

person’s right to publicity.”) (emphasis added).

       Because Plaintiffs have not alleged the commercial use of their identities in connection

with the advertising or sale of a separate product or service, their claims must be dismissed.

       C.      Meredith Did Not Publicly Use Plaintiffs’ Names

       Despite bringing right of publicity claims, Plaintiffs do not plausibly allege that Meredith

publicly used their names. Instead, Plaintiffs merely claim that Meredith “discloses its magazine


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subscribers’ names and other identifying information” to “data aggregators,” and then “licenses”

mailing lists to unspecified “clients.” (Compl. ¶¶ 5–6, 41–42 (emphasis added).) On its face, this

does not describe a public use of plaintiffs’ identities but, rather, a private use in a transaction

between contractual counterparties, which falls entirely outside the ROP Laws.

        In construing statutes, laws are to “be given sensible construction; and a literal

application of a statute which would lead to absurd consequences, should be avoided whenever a

reasonable application can be given to it, consistent with the legislative purpose.” United States

v. Katz, 271 U.S. 354, 357 (1926). Case law in the five jurisdictions at issue also instructs courts

to interpret statutes to effectuate the legislature’s intention and avoid absurd results.11 It would

produce an “absurd result” if, as Plaintiffs urge, claims brought under right of publicity statutes

did not require any publicity, such as the public use of Plaintiffs’ names. Plaintiffs’ unsupported

interpretation of the ROP Laws to dispense with any requirement of publicity ignores well-

established doctrines of statutory analysis and contradicts the purpose of the statutes.

        As one court recently explained, even where “publicity is not explicitly stated as an

element per se, it is still a fundamental requirement of the cause of action of wrongful




11
   See Amalgamated Transit Union, AFL-CIO, Loc. 697 v. Toledo Area Reg’l Transit Auth., 164
N.E.3d 569, 576 (Ohio Ct. App. 2020) (“We construe a statute to determine the legislative intent,
looking to the language used and the purpose to be accomplished. . . . Interpretations that lead to
absurd or obviously unintended results are not consistent with determining legislative intent.”)
(citations omitted); Robertson v. Rodriguez, 36 Cal. App. 4th 347, 361 (1995) (“The rules of
statutory construction also require courts to construe a statute to promote its purpose, render it
reasonable, and avoid absurd consequences.”) (citations omitted); State v. Villanueva, 177 Wash.
App. 251, 256–57 (Wash. Ct. App. 2013) (“We construe a statute to effectuate its purpose while
avoiding absurd, strained, or unlikely consequences.”); Asoc. Medica de P.R. v. Cruz Azul, 18
P.R. Offic. Trans. 772, 778–79 (P.R. 1987) (When a statute “is not clear or free from ambiguity,”
courts should construe it “in the manner most in keeping with the legislative intent.”); State v.
French, 509 N.W.2d 693, 695 (S.D. 1993) (“The purpose of the rules of statutory construction is
to discover the true intention of law, and that intention must be ascertained primarily from the
language expressed in the statute.” (citations omitted)).

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appropriation of personality.” J.R. v. Walgreens Boots Alliance, Inc., 470 F. Supp. 3d 534, 551

(D.S.C. 2020) (dismissing right-of-publicity claim under South Carolina law where plaintiff’s

name was not made public, even though statute did not specify “publicity” as an element of the

claim). The publicity requirement is, of course, inherent in the very definitions of “publicity”:

“the quality or state of being public;”12 “public”: “exposed to general view;”13 and “publish”: “to

disseminate to the public.”14 See also United Labs., Inc. v. Savaiano, No. 06 C 1442, 2007 WL

4557095, at *10 (N.D. Ill. Dec. 21, 2007) (“[P]ublicity” means “the matter is made public, by

communicating it to the public at large, or to so many persons that the matter must be regarded

as substantially certain to become one of public knowledge.” (citing Restatement (Second) of

Torts § 652D cmt. a).

       Here, Plaintiffs do not allege that Meredith made their names public or publicized their

names. Indeed, the Complaint is bereft of any allegation that even Plaintiffs have seen their own

names on any mailing list, which certainly would be expected had Meredith in fact publicized

their names. Nor have Plaintiffs identified any other specific person—much less the “public” at

large—who viewed their names or any other information about them on a mailing list or

anywhere else. As a matter of definition and logic, without a plausible allegation that Plaintiffs’

names were exposed to general view or disseminated to the public, there can be no right-of-

publicity claim.

       Not surprisingly, Plaintiffs’ reading of the ROP Laws to permit right-of-publicity claims




12
   Publicity, WEBSTER’S DICTIONARY, https://www.merriam-webster.com/dictionary/publicity
(last visited Mar. 28, 2022).
13
   Public, WEBSTER’S DICTIONARY, https://www.merriam-webster.com/dictionary/public (last
visited Mar. 28, 2022).
14
   Publish, WEBSTER’S DICTIONARY, https://www.merriam-webster.com/dictionary/publish (last
visited Mar. 28, 2022).


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without any publicity finds no support in the case law. In Brooks, 2021 WL 3621837, at *2, the

court pointedly found no § 3344 violation because the dossiers containing the plaintiffs’

information were sent only to a limited number of “subscribers who deliberately paid Thomson

Reuters to receive information about [plaintiffs],” rendering the use “categorically different from

the type of conduct made unlawful by this tort[.]” Id. at *5; see also MetLife Investors USA Ins.

Co. v. Zeidman, 734 F. Supp. 2d 304, 312 (E.D.N.Y. 2010) (use of plaintiff’s identity in private

contract, though connected to sale of a product, could not support alleged violation of right of

publicity), aff’d sub nom. MetLife Investors USA Ins. Co. v. Pratt, 442 F. App’x 589 (2d Cir.

2011).

         Similarly, in In re Facebook, Inc. Consumer Privacy User Profile Litig., the plaintiffs

brought right-of-publicity claims under California common law after learning that Facebook had

disclosed their personal information without their consent in private transactions with third

parties, including Cambridge Analytica, various app developers, and other businesses. 402 F.

Supp. 3d 767, 781 (N.D. Cal. 2019). The court dismissed the right-of-publicity claim because the

“allegations about how Facebook shared the plaintiffs’ information with third parties is

categorically different from the type of conduct made unlawful by this tort.” Id. at 803. This case

makes clear that the private disclosure of names and other personal information to third parties,

even when the defendant benefits from the disclosure, is not a right-of-publicity violation.

         Likewise, in J.R., 470 F. Supp. 3d at 550–51, the plaintiffs alleged that their names and

personal information had been included in a database accessible only to Walgreens employees.

The court held that these allegations did not establish that Walgreens was “publicizing plaintiffs’

PII [personally identifiable information] to the public at large,” and dismissed their right-of-




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publicity claim.15 Id. at 552.

       Because Plaintiffs do not plausibly allege that Meredith publicly used their names or

identities, the Court should dismiss their right-of-publicity claims.

       D.      Plaintiffs Have Not Alleged an Injury Within the “Zone of Interests” of the
               ROP Laws and Therefore Lack Statutory Standing

       Plaintiffs’ claims fail for the additional and independent reason that their alleged injuries

do not fall within the zone of interests protected by the ROP Laws, and they therefore lack

statutory standing.

       To sue under a statute, a plaintiff must show that her asserted injuries “‘fall within the

zone of interests protected by the law invoked.’” Bank of Am. Corp. v. City of Miami, Fla., 137

S. Ct. 1296, 1302 (2017) (quoting Lexmark Int’l, Inc. v. Static Control Components, Inc., 572

U.S. 118, 126 (2014)); Mayor of Baltimore v. Actelion Pharm. Ltd., 995 F.3d 123, 134 (4th Cir.

2021) (applying “statutory standing” doctrine to suits brought under state statutes); see also

Lexmark, 572 U.S. at 129 (statutory standing requirement “applies to all statutorily created

causes of action”). Statutory standing is a separate inquiry from Article III standing. See Tovar v.

Essentia Health, 857 F.3d 771, 778 (8th Cir. 2017) (distinguishing “the question of whether

Tovar suffered an injury sufficient to confer Article III standing from the question of whether

Tovar is a proper plaintiff under the text of the ACA”); Kelley v. Iowa State Univ. of Sci. &



15
  Plaintiff’s allegations are distinguishable from the “free preview” cases where a company
shows a preview of information concerning an individual’s identity to entice a user to buy a
subscription to services or products from the company. In those cases, the plaintiffs actually
discover or see their persona or identity being exploited by the defendant. See, e.g., Knapke v.
PeopleConnect Inc., C21-262 MJP, 2021 WL 3510350 at *5 (W.D. Wash. Aug. 10, 2021)
(plaintiff need not allege that members of the public saw the offending image when plaintiff
herself discovered that defendants were using her image to market their products and services on
the internet, which is available to the public at large). Nothing remotely similar is alleged in this
case: Plaintiffs never “discovered” Meredith using their names to market any products nor
services.

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Tech., 311 F. Supp. 3d 1051, 1060 (S.D. Iowa 2018) (same).

       “Using traditional tools of statutory interpretation” and examining the “statute’s

purpose,” a federal court must determine “whether a legislatively conferred cause of action

encompasses a particular plaintiff’s claim.” Lexmark, 572 U.S. at 127, 131. “[W]hen a plaintiff’s

interests are so marginally related to or inconsistent with the purposes implicit in the statute that

it cannot reasonably be assumed that [the legislature] authorized that plaintiff to sue,” the claim

is foreclosed. Id. at 130–31 (citation omitted).

       The text of the ROP Laws makes clear that each statute protects a specific “property

right,” Cal. Civ. Code § 3344.1(b); Ohio Rev. Code Ann. §§ 2741.01(D) & 2741.04; P.R. Laws

Ann. tit. 32, § 3154; S.D. Codified Laws §§ 21-64-1 & 21-64-4; Wash. Rev. Code § 63.60.010,

and each statute confers only a limited right to exclude others from enumerated commercial,

public uses of that specific property, i.e., one’s identity. See supra Section II.B.

       For example, to invoke the protection of Cal. Civil Code § 3344, the oldest statute of the

five ROP Laws, a plaintiff must allege an injury to the property right the legislature intended the

statute to protect. Just any “trespass” against a plaintiff does not fall within the statute’s zone of

interests. As the Supreme Court of California explained in Comedy III, § 3344 “protect[s] the

fruits” of the holder’s labor to create value that can be derived from her name. 21 P.3d at 808.

See Zacchini, 433 U.S. at 576 (observing that the common-law right of publicity prevents “theft

of good will”). Consequently, “[w]hat the right of publicity holder possesses is not a right of

censorship, but a right to prevent others from misappropriating the economic value generated by

the [holder].” Comedy III, 21 P.3d at 807 (emphasis added).

       To allege the required injury to property under § 3344, it is legally insufficient simply to

claim a privacy injury. See Brooks, 2021 WL 3621837, at *5 (dismissing plaintiff’s § 3344 claim




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because “the injury Plaintiffs suffered here—although deeply concerning and perhaps a violation

of their privacy—is not a violation of their right of publicity because their name or likeness is not

being ‘appropriated’ and used to advertise a separate product or service”—“the essence of an

‘appropriation’ of one’s name or likeness”); cf. Nelson v. Harrah’s Entm’t Inc., No. 07 C 7227,

2008 WL 2444675, at *1 (N.D. Ill. June 13, 2008) (holding that an IRPA claim “requires more

than just bare invasion of the plaintiff’s privacy interest in his or her name”); Maremont v. Susan

Fredman Design Grp., Ltd., No. 10 C 7811, 2011 WL 6101949, at *6 (N.D. Ill. Dec. 7, 2011)

(“‘[I]t is not the use of the plaintiff’s name which constitutes a tort but rather the appropriation of

the value of his name and reputation.’”) (quoting Hooker v. Columbia Pictures Indus., Inc., 551

F. Supp. 1060, 1062 (N.D. Ill. 1982)).

       While an economic injury like the theft of valuable goodwill or interference with the

value of plaintiff’s future endorsements would fall within the zone of interests protected by

§ 3344, Plaintiffs do not allege such injuries; nor do they claim to have suffered from emotional

distress, humiliation, or embarrassment. See Abdul-Jabbar, 85 F.3d at 416 (reversing dismissal

of famous basketball player’s § 3344 claim where there was evidence of both economic and

emotional injury: “the ad will make it difficult for him to endorse other automobiles,

and . . . people may be led to believe he has abandoned his current name and assume he has

renounced his religion”).16 Where, as here, Plaintiffs do not allege that they were harmed by




16
  The failure to allege any sort of economic or emotional injury also dooms the California
Plaintiffs’ claims for statutory damages under § 3344. See, e.g., Miller v. Collectors Universe,
Inc., 159 Cal. App. 4th 988, 1002 (2008) (statutory damages are available to plaintiffs who suffer
economic injuries resulting from the misappropriation of their identities); Cohen v. Facebook,
Inc., 798 F. Supp. 2d 1090, 1097 (N.D. Cal. 2011) (dismissing § 3344 claim because plaintiffs
did not allege any economic injury or “mental anguish as a result of the alleged
misappropriation, and a plausible supporting factual basis for any such assertion”).



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appropriation of the property right in their personas, they do not and cannot state a claim under

the statute. See Cohen v. Facebook, Inc., No. C 10-5282 RS, 2011 WL 5117164, at *2 (N.D. Cal.

Oct. 27, 2011) (dismissing § 3344 claim where plaintiffs alleged their “names and likenesses had

an economic value to Facebook” but failed to allege how plaintiffs were harmed by Facebook’s

use of their identities).

        The Ohio, Puerto Rico, Washington, and South Dakota statutes protect the same interests

as the California ROP Law. See Harvey v. Sys. Effect, LLC, 154 N.E.3d 293, 308 (Ohio Ct. App.

2020) (observing “[Ohio St. § 2741’s] primary focus is the value of a person’s name, vis-à-vis

[plaintiff’s] ability to market it for commercial purposes”); P.R. Law No. 139-2011 (July 13,

2011) (codified at P.R. Laws Ann. tit. 32, § 3154) (Declaration of Joseph D. Mornin, Exh. A)

(contrasting Puerto Rico’s statutory “right to publicity,” which “provides the individual with a

proprietary right over what their identity is,” with the “right to privacy,” which protects

“information . . . people have about that individual, their communications, body and thoughts”);

Aronson v. Dog Eat Dog Films, Inc., 738 F. Supp. 2d 1104, 1113 (W.D. Wash. 2010) (describing

the “unauthorized use” of the “persona[]” as an infringement of the property right codified in

Wash. Rev. Code § 63.60.010 et seq.); Berry v. Nat’l Broad. Co., Inc., 480 F.2d 428, 430 (8th

Cir. 1973) (noting that South Dakota recognized the “right of privacy” as defined in the

Restatement (Second) of Torts, which included appropriation of another person’s name or

likeness). Nothing in the statutory text, case law, or legislative history of any of the ROP Laws

suggests they were intended to protect the bare privacy interest in facts compiled about a

person.17



17
  Consistent with the right of publicity’s common-law origins, see supra Section II.A, the
purpose of each ROP Law is to confer a limited property right protecting against
misappropriation of the commercial value of the holder’s identity to sell some other product.

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        Rather, to fall within the zone of interests of the ROP Laws, Plaintiffs must allege an

injury to the property right in one’s identity, depriving its owner of the identity’s economic

value. Cf. Brooks, 2021 WL 3621837, at *5 (dismissing § 3344 claim where alleged injury was

“categorically different” from a right-of-publicity injury) (citing In re Facebook, 402 F. Supp. 3d

at 803 (dismissing common-law ROP claim for the same reason and discussing economic

incentives underlying the tort)). Here, Plaintiffs do not and cannot allege that their names on a

subscriber list have any economic value, or that the alleged inclusion of their names in mailing

lists somehow deprived them of that value. See Avrahami, 1996 WL 1065557, at *2, *6

(subscriber’s name lacked “any commercial value,” because “[i]t is not possible to rent only one

name on a mailing list”). Similarly, Plaintiffs do not and cannot allege that Meredith interfered

with their property right to profit from their identities (should they so choose), or that they have

suffered any kind of emotional distress.18

       Instead, Plaintiffs merely claim they “have been injured” (Compl. ¶ 73) and appear to




This intent is borne out by the legislative history. For instance, during the House Judiciary
Committee debate concerning South Dakota’s ROP statute, a proponent cited Charlie Chaplin’s
identity being replicated in a windup toy without consent as an example of a violation. See
Hearing on South Dakota H.B. 1225 Before the House Judiciary Committee, 90th Leg. Sess.
(S.D. 2015), available at (39:15-41:15) https://sdpb.sd.gov/sdpbpodcast/2015/hju23.mp3. In the
House debate on Ohio’s ROP statute, Representative Salerno cited the non-consensual sale of
“tacky or defective or inferior products” representing the astronauts Neil Armstrong and John
Glenn as a violation. Hearing on Ohio S.B. 54 Before the House Session, 123rd Gen. Assemb.
(Ohio 1999), available at (1:12:14-1:16:12) https://www.ohiochannel.org/video/house-session-
june-28-1999. And in the House debate on Washington’s ROP statute, Representative Dyer cited
the non-consensual use of a computer-enhanced photograph of himself “to sell swimsuits on
Valentine’s Day” as a hypothetical violation. Hearing on Washington H.B. ESHB 1074 Before
the House Floor, 55th Leg., 1997 Reg. Sess. (Wash. 1997), available at (27:42-28:03)
https://tvw.org/video/house-floor-debate-
1997021231/?eventID=1997021231&startStreamAt=1524&autoStartStream=true.
18
   By the same token, Plaintiff Ramirez does not allege that Meredith interfered with her ability
to determine “what [her] identity is,” as required by P.R. Laws Ann. tit. 32, § 3154.


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assert a privacy interest in preventing disclosure of mailing lists allegedly containing their

names. (Id. ¶¶ 40–42, 44.) As explained in the case law, this is not an injury to the property right

that is protected by the ROP Laws. See Brooks, 2021 WL 3621837, at *5; Cohen, 2011 WL

5117164, at *2. Nor is it an injury to Plaintiffs’ property rights under the common-law right of

publicity from which the ROP Laws emanated. See, e.g., In re Trans Union Corp. Privacy Litig.,

326 F. Supp. 2d 893, 895–96, 902 (N.D. Ill. 2004) (rejecting plaintiffs’ theory that placement of

their names and addresses on a marketing list deprived them of the value of their identities under

misappropriation of likeness torts); see also Dwyer, 652 N.E.2d at 1356 (dismissing Illinois

common-law right-of-publicity claim predicated on mailing lists because “defendants’ practices

do not deprive any of the cardholders of any value their individual names may possess”).

       In sum, the injury Plaintiffs assert—essentially, Meredith’s compiling and privately

disclosing information about them to potential contractual counterparties—plainly falls outside

the “zone of interests” protected by the ROP Laws, and Plaintiffs therefore lack statutory

standing to sue under these statutes.

       E.      Any Alleged Use of Plaintiffs’ Names Is a Non-Actionable Incidental Use

       Plaintiffs’ claims also fail because they have alleged only a de minimis, incidental use of

their names, which is not actionable under the ROP Laws.

       Under the incidental use rule, a fleeting use of a person’s identity, unrelated to

appropriating value that would otherwise belong to that person, is not actionable in a right-of-

publicity claim. As explained in the Restatement of Torts:

               Incidental use of name or likeness. The value of the plaintiff’s
               name is not appropriated by mere mention of it . . . , nor is the
               value of his likeness appropriated when it is published for purposes
               other than taking advantage of his reputation, prestige, or other
               value associated with him, for purposes of publicity. . . . It is only
               when the publicity is given for the purpose of appropriating to the



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               defendant’s benefit the commercial or other values associated with
               the name or the likeness that the right of [publicity] is invaded.

Restatement (Second) of Torts § 652C cmt. D (1977); see 5 J. Thomas McCarthy, McCarthy on

Trademarks and Unfair Competition § 28:7.50 (5th ed. 2022) (“The mere trivial or fleeting use

of a person’s name or image in an advertisement will not trigger liability when such a usage will

have only a de minimis commercial implication.”). The rule ensures that an incidental use that

has minimal impact on commercial value does not result in liability, as “allowing anyone briefly

depicted or referred to for commercial purposes [to sue] would unduly burden expressive

activity.” Aligo v. Time-Life Books, Inc., No. C 94-20707 JW, 1994 WL 715605, at *2 (N.D. Cal.

Dec. 19, 1994) (citations omitted).

       The incidental use rule is expressed in various ways but applies to all ROP Laws,

including California’s, where “[i]ncidental use of a plaintiff’s name or likeness does not give rise

to liability under a common law claim . . . or a claim under section 3344.” Id. So too in Ohio,

where “[p]ublishing a likeness of a person does not constitute appropriation if the use of the

likeness is ‘for purposes other than taking advantage of his or her reputation, prestige, or other

value associated with him or her for purposes of publicity.’” Balsley v. LFP, Inc., No. 1:08 CV

491, 2010 WL 11561844, at *9 (N.D. Ohio Jan. 26, 2010) (quoting Vinci v. Am. Can Co., 591

N.E.2d 793, 794 (Ohio Ct. App. 1990)). Washington has codified the incidental use rule,

expressly providing that there is no cause of action when the use of the identity “is an

insignificant, de minimis, or incidental use.” Wash. Rev. Code. §63.60.070(6). Puerto Rico’s

statute does not apply when “[w]hen the likeness of an accessory figure”—a “person who is not

the focus of a communication, but rather a part of a group or background figure”—is used for a

commercial purpose. P.R. Laws Ann. tit. 32, §§ 3151(g), 3157(d).

       Application of the incidental use rule “is determined by the role that the use plays with



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respect to the entire publication,” including “(1) whether the use has a unique quality or value

that would result in commercial profit to the defendant, (2) whether the use contributes

something of significance; (3) the relationship between the reference to the plaintiff and the

purpose and subject of the work; and (4) the duration, prominence or repetition of the name or

likeness relative to the rest of the publication.” Aligo, 1994 WL 715605, at *3 (citations omitted).

       In Aligo, on a motion to dismiss, the court invoked the incidental use rule to dismiss

California statutory and common-law right-of-publicity claims where the plaintiff alleged that

his photograph appeared in a single, four-second portion of a 30-minute infomercial promoting a

rock music anthology. Id. at *1, *3. The court held the use was “insignificant to the commercial

purpose of selling the music anthology,” and “too fleeting and inconsequential as a matter of law

to give rise to liability for misappropriation . . . .” Id. at *3–4. Accord Avrahami, 1996 WL

1065557, at *7 (“inclusion of a name as part of a larger mailing list—where no relationship

exists between the individual name and the exchange of the list—‘is too fleeting and incidental

to be actionable’” (citation omitted)).

       Many other courts have held that a fleeting or de minimis use of a plaintiff’s identity is

not actionable. See, e.g., Harvey, 154 N.E.3d at 305–07 (affirming summary judgment to

defendant under Ohio common-law right of publicity where plaintiff’s persona appeared on only

“three slides of a 200-page presentation” and the use was “incidental”); Balsley, 2010 WL

11561844, at *9 (publishing plaintiff’s name and likeness in a magazine together with historical

information about her held non-actionable incidental use of her persona under Ohio law “because

the use of the photograph of [plaintiff] does not imply that she uses, supports, or promotes” the

magazine); Luis Bonilla Medina v. New Progressive Party, 140 D.P.R. 294, 302–04 (P.R. 1996)

(Declaration of Joseph D. Mornin, Exh. C) (affirming dismissal of plaintiff’s claim under Puerto




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Rico’s common-law “right to one’s own image” because plaintiff was merely an “accessory

figure” in a political advertisement and imposing liability would, as applied, unduly burden

freedom of expression); Preston v. Martin Bregman Prods., Inc., 765 F. Supp. 116, 119

(S.D.N.Y. 1991) (dismissing New York statutory right-of-publicity claim where plaintiff was

“shown in only 9 seconds of [the] full-length motion picture, for 4 ½ seconds of which her face

is visible, in the opening title scenes before the plot begins or any of the characters appear”);

Vinci, 591 N.E.2d at 794 (publishing Olympic athletes’ “names, likenesses, and identities” on a

series of Dixie Cups held not actionable because “reference to the athletes and their

accomplishments was purely informational” and “incidental to the promotion” of the product).

       The incidental use rule squarely applies here, where Plaintiffs’ names—assuming they

appeared on mailing lists at all, which Plaintiffs admittedly do not know—would have comprised

a miniscule percentage of the names on subscriber lists compiled from a “vast digital database.”

(Compl. ¶¶ 40–42). Plaintiffs do not allege that their names were selected for their “unique

quality or value,” Aligo, 1994 WL 715605, at *3; they claim Meredith indiscriminately included

“each of Meredith’s subscribers” on the mailing lists. (Compl. ¶ 42 (emphasis added).) Nor is

there any allegation as to the “duration, prominence or repetition” of their names “relative to the

rest of the publication,” i.e., the other names on the list. Aligo, 1994 WL 715605, at *3. Plaintiffs

likewise do not allege that their names were the “focus of [the] communication,” versus merely a

very small part of a very large group. P.R. Laws Ann. tit. 32, §§ 3151(g), 3157(d). Nor do

Plaintiffs allege that their individual names enhanced Meredith’s ability to sell the lists relative to

Meredith’s efforts in compiling the lists. (Compl. ¶¶ 40–42); see In re Trans Union Corp.

Privacy Litig., 326 F. Supp. 2d at 903 (“[T]he allegedly appropriated value of each plaintiff’s

name is actually created by its placement on the list. Absent the list, there is no value to




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appropriate.”); Dwyer, 652 N.E.2d at 1356 (“[A]n individual name has value only when it is

associated with one of defendants’ lists. Defendants create value by categorizing and aggregating

these names.”).

         In sum, the alleged use of Plaintiffs’ names on Meredith’s mailing lists is “is ‘too fleeting

and incidental’ to be actionable” under the ROP Laws. Avrahami, 1996 WL 1065557, at *7.

III.     THE FIRST AMENDMENT BARS PLAINTIFFS’ PROPOSED APPLICATION                     OF THE   ROP
         LAWS

         The Complaint must be dismissed for the separate reason that Plaintiffs’ proposed

application of the ROP Laws would violate the First Amendment.

         Right-of-publicity statutes, which target speech “based on its communicative content”

and the identity of the speaker, are subject to First Amendment scrutiny.19 See Sarver v.

Chartier, 813 F.3d 891, 903 (9th Cir. 2016) (citing Reed v. Town of Gilbert, Ariz., 576 U.S. 155,

163 (2015)). The Eighth Circuit recognizes that “state law rights of publicity must be balanced

against First Amendment considerations,” and “the former must give way to the latter.” C.B.C.

Distrib. & Mktg., Inc. v. Major League Baseball Advanced Media, L.P., 505 F.3d 818, 823 (8th

Cir. 2007) (citing Zacchini, 433 U.S. at 562).20 That case involved allegations that CBC’s fantasy


19
  See, e.g., Ohio Rev. Code § 2741.02 (prohibiting speech based on “use [of] any aspect of an
individual’s persona for a commercial purpose,” where “persona” includes particular attributes of
an individual and “commercial purpose” depends on the content of the communication).
20
   All federal Courts of Appeals (including the Eighth Circuit) to explicitly adopt a test for
whether the First Amendment bars a state right-of-publicity claim have employed First
Amendment balancing instead of the “commercial speech” inquiry under Central Hudson Gas &
Elec. Corp. v. Pub. Serv. Comm’n, 447 U.S. 557, 564 (1980). See Major League, 505 F.3d at
823; Hart, 717 F.3d at 163 (applying the “transformative use test” in Comedy III, 21 P.3d at 806,
which balances “the state law interest and the interest in free expression,” instead of the
commercial speech test); In re NCAA Student-Athlete Name & Likeness Licensing Litig., 724
F.3d 1268, 1274 (9th Cir. 2013) (endorsing the application of the Comedy III balancing test
based on transformative use); ETW Corp., 332 F.3d at 938 (applying a balancing test and the
transformative use test from Comedy III instead of the commercial speech test); Cardtoons, L.C.
v. Major League Baseball Players Ass’n, 95 F.3d 959, 972 (10th Cir. 1996) (“directly

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baseball products—which incorporated the names, biographical data and performance statistics

of MLB players—violated those players’ rights of publicity, which MLB had licensed to another

company. Id. at 820–23. The Eighth Circuit affirmed a grant of summary judgment to CBC

because dissemination of the player names and data deserved the same First Amendment

protection as “informational” speech. Id. at 823 (citing Cardtoons, 95 F.3d at 969. Noting that

the players’ names were public information, the court found “it would be strange law that a

person would not have a First Amendment right to use information that is available to everyone.”

Id. at 823. Balancing the right to speak against the right to be free from publicity, the Eighth

Circuit held that the First Amendment interests outweighed the state’s interests because the “case

barely, if at all, implicate[d] the interests that states typically intend to vindicate by providing

rights of publicity to individuals,” e.g., “economic interests” like the “rewards of [the

individual’s] endeavors,” “an individual’s right to earn a living,” and “provid[ing] incentives to

encourage a person’s productive activities.” Id. at 824 (citing, inter alia, Zacchini, 433 U.S. at

573 (explaining the rationale as the “right of the individual to reap the reward of his

endeavors”)).21

        The same reasoning applies here, where Plaintiffs allege their names, addresses, and




balanc[ing] the magnitude of the [ROP] speech restriction against the asserted governmental
interest in protecting the intellectual property right”); Rogers v. Grimaldi, 875 F.2d 994, 1004
(2d Cir. 1989) (applying a “relatedness” inquiry and not the commercial speech test to a ROP
claim). See also Sarver, 813 F.3d at 906 (suggesting that, in an as-applied challenge, strict
scrutiny may apply to ROP claims and dismissing such a claim as “presumptively
unconstitutional” under California’s anti-SLAPP statute); Hilton, 599 F.3d at 905 n.7 (holding
that appropriation of socialite’s likeness on Hallmark card is not “commercial speech for First
Amendment purposes” because it “is not advertising the product; it is the product”).
21
  The court explicitly did not consider noneconomic harms like “mental anguish” as
countervailing interests in a right-of-publicity case because noneconomic harms are “more
directly served by so-called rights of privacy.” Id. at 824 (citing Cardtoons, 95 F.3d at 967, 973).

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other inherently public information is included on Meredith’s mailing lists. (Compl. ¶ 40–42.)

This is fully protected speech. See Major League, 505 F.3d at 823–24; Dex Media West, Inc. v.

City of Seattle, 696 F.3d 952, 962 (9th Cir. 2012) (holding that “publications like yellow pages

directories” receive full First Amendment protection); Vrdolyak v. Avvo, Inc., 206 F. Supp. 3d

1384, 1387 (N.D. Ill. 2016) (holding that Avvo’s online attorney directory is “more akin to the

yellow pages directory, which receives First Amendment protection,” than to an advertisement

“appropriating” a celebrity’s persona); see also Va. State Bd. of Pharmacy v. Va. Citizens

Consumer Council, Inc., 425 U.S. 748, 764 (1976) (noting the “strong” First Amendment

“interest in the free flow of commercial information”).

       As in Major League, where publicly available information was used, there are no

legitimate right-of-publicity interests to countervail Meredith’s First Amendment rights here.22

Plaintiffs allege no economic injury from Meredith’s products, nor could they: it is difficult to

fathom how the private sale of a subscriber mailing list would impact Plaintiffs’ ability to make a

living or discourage them from doing so. See Major League, 505 F.3d at 824; Sarver, 813 F.3d at



22
   Even were the Court to conclude that Meredith’s compilation and sale of subscriber mailing
lists is “commercial speech” subject to less robust First Amendment protection, to survive First
Amendment scrutiny, Plaintiffs still must show that each ROP Law “advances [a] substantial
[government] interest ‘in a direct and material way.’” Missouri Broadcasters Ass’n v. Schmitt,
946 F.3d 453, 457, 459-61 (8th Cir. 2020) (quoting Rubin v. Coors Brewing Co., 514 U.S. 476,
487 (1995)) (affirming judgment in favor of defendant on First Amendment grounds where
plaintiff failed to show how a Missouri statute “prohibit[ing] [alcohol] producers and
distributors from retail advertising,” as applied, “directly and materially advance[d] [plaintiff’s]
interest of preventing undue influence” in the retail alcohol market). As explained in this Section
and in Section II.D above, the ROP Laws, as plaintiffs seek to apply them, do nothing to advance
the property interests animating them. See, e.g., Major League, 505 F.3d at 824. For the same
reason, Plaintiffs cannot show “that [each] Statute’s speech restriction as applied is not more
extensive than necessary to serve its interest,” as would be required for any commercial speech
restriction to survive scrutiny. Missouri Broadcasters, 946 F.3d at 461. Consequently, the ROP
Laws fail the First Amendment test, whether the standard in Major League or in Missouri
Broadcasters applies.



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905–06 (affirming grant of anti-SLAPP motion after holding the First Amendment foreclosed a

California right-of-publicity claim where plaintiff did not allege he “invest[ed] time and money

to build up economic value in a marketable performance or identity” and “expressly disavowed

the notion that he sought to attract public attention to himself”—“[t]he state has no interest in

giving Sarver an economic incentive to live his life as he otherwise would”).

       Because the manner in which Plaintiffs seek to apply the ROP Laws does not advance or

align with the state interests underlying the statutes, the First Amendment would bar the

expansive right-of-publicity claims Plaintiffs seek to assert here.23

                                          CONCLUSION

       For the reasons stated above, the Court should dismiss the case, with prejudice, for lack

of subject-matter jurisdiction under Rule 12(b)(1), for failure to state a claim under Rule

12(b)(6), and because Plaintiffs’ claims are barred by the First Amendment. The Court should

also award Meredith attorney’s fees, costs, and expenses under Cal. Civ. Code § 3344(a), Ohio

Rev. Code Ann. § 2741.07(D)(1), and Wash. Rev. Code § 63.60.060(5). To facilitate the Court’s

understanding of the numerous state law and constitutional issues raised herein, Meredith

respectfully requests oral argument of this Motion pursuant to L.R. 7(c).




23
   Of course, the Court can avoid the need to reach this constitutional question by construing the
ROP Laws to exclude Meredith’s truthful, lawful, private speech that does not implicate the core
interests of these right-of-publicity statutes. See Clark v. Martinez, 543 U.S. 371, 380–81 (2005)
(“[W]hen deciding which of two plausible statutory constructions to adopt, a court must consider
the necessary consequences of its choice. If one of them would raise a multitude
of constitutional problems, the other should prevail . . . .”).


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Dated: March 28, 2022            Respectfully submitted,

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                                    CERTIFICATE OF SERVICE


        I hereby certify that on this 28th day of March, 2022, I caused a true and correct copy of
the foregoing Memorandum in Support of Defendant Meredith Corporation’s Motion to
Dismiss the Consolidated Class Action Complaint to be filed through the Court’s CM/ECF
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